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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Action No. 20-cr-00368-RM

UNITED STATES OF AMERICA,

      Plaintiff,
v.

GEORGE SCOTT McKIM,

      Defendant.



                       ORDER REGARDING RESTITUION IN
                     DEFERRED PROSECUTION AGREEMENT



      The Court has been advised that Defendant George Scott McKim has entered

into a Deferred Prosecution Agreement, dated December 10, 2020, with the United

States Attorney’s Office. A copy of the agreement is attached to this Order and is

incorporated by reference.

      The Deferred Prosecution Agreement includes a condition that Defendant

George Scott McKim make restitution payments in the amount of $250 by the 15th of

each month to the Department of Veterans Affairs. The total amount due to the

Department of Veteran Affairs is $93,526.27.

      It is ORDERED that the Clerk of the Court shall accept and receive restitution

payments from Defendant George Scott McKim and disburse them to the Department of

Veterans Affairs, Debt Management Center, at 1 Federal Drive, St. Paul, MN 55111 in




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accordance with the Deferred Prosecution Agreement and in the manner in which

restitution payments are received and disbursed for criminal judgments.




____________________________                          __________________________
RAYMOND P. MOORE                                      Signature of Judge
United States District Court Judge


                                                      __________________________
                                                      Date




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